 

 

UNITED STATES DISTRICT CoURT
SoUTHERN DISTRICT oF NEW YoRK

AMY INGBER, BERTA MORALES, LEEANA KOZNESOFF,

 

NATALYA SOKOLSON, RICHARD SANJAMINO, SCOTT KREFETZ

 

(List the full name(s) of the plaintiff(s)/petitioner(s).) 14 CV O 3 94 2 (JMF )(DF )

-against-
NOTICE OF APPEAL

THE NEW YORK CITY DEPARTMENT OF EDUCATION

 

AND CHANCELLOR CARMEN FARINA

 

(List the full name(s) of the defendant(s)/respondent(s).)

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Koznesoff, Natalya Sokolson, Richard Sanjamino, Scott Krefetz

 

 

(list the names of all parties Who are filing an appea|)

in the above-named case appeal to the United States Court of Appeals for the Second Circuit

from the l?'r judgment l:l order entered on: December 9 ' 2 014

 

(date thatjudgment or order Was entered on docket)
thm: Dismissed plaintiffs' action alleging violations of the Due Process

 

ClauSe of the Fourteenth Amendment of the United States Constitution &

 

(|f the appeal is from an order, provide a brief description above of the decision in the order.)
Article I, Section 6 of the New York State Constitution

Dated Jal'lU.ary 7 , 2 O l 5 Signature'

 

Wabnik, Debra L., Stagg, Terenzi, Conquione & Wabnik, LLP

 

Name (Last, First, N||)

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Address City State Zip Code

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Te|ephone Number E-mail Address (if availab|e)

 

 

' Each party filing the appeal must date and sign the Notice of Appeal and provide his or her mailing address and telephone

number, EXCEPT that a signer of a pro se notice of appeal may sign for his or her spouse and minor children if they are parties
to the case. Fed. R. App. P. 3(c)(2). Attach additional sheets of paper as necessary.

Rev.12/23/13

